  Case 3:24-cv-00180-HEH Document 9-1 Filed 04/29/24 Page 1 of 1 PageID# 33




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division
____________________________________
                                     )
TRUSTEES OF THE PLUMBERS             )
AND STEAMFITTERS UNION               )
LOCAL NO. 10 APPRENTICESHIP          )
FUND,                                )
                                     )
            Plaintiff,               )
                                     )
v.                                   )    Civil Action No.: 3:24-cv-00180
                                     )
                                     )
VICTORIA NAPKY,                      )
                                     )
            Defendant.               )
____________________________________)

                                             ORDER

       This matter is before the Court on Defendant’s Motion to Dismiss pursuant to Rule

12(b)(6) and 12(b)(1) of the Federal Rules of Civil Procedure (“Motion to Dismiss”) (ECF No.

__). For the reasons stated in the accompanying Memorandum Opinion, the Motion to Dismiss

(ECF No. __) is GRANTED.

       Let the Clerk file this Order electronically and notify all counsel of record accordingly.

       It is so ORDERED.


                                             ________________________________
                                             Henry E. Hudson
                                             Senior United States District Judge


Richmond, Virginia

Dated: _____________________
